Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 1 of 23 Page ID #:686




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  8
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  9 JIM MARSHALL PHOTOGRAPHY, LLC

 10
                             UNITED STATES DISTRICT COURT
 11
                           CENTRAL DISTRICT OF CALIFORNIA
 12

 13 JIM MARSHALL PHOTOGRAPHY                      Case No. CV 12-03423 SJO (VBKx)
 14 LLC, a California Limited Liability           Filed April 20, 2012
    Company,                                      Honorable S. James Otero
 15                    Plaintiff,
 16      vs.                                      PLAINTIFF’S MOTION FOR
                                                  SUMMARY ADJUDICATION RE
 17 THIERRY GUETTA; IT’S A                        COPYRIGHT INFRINGEMENT AS
 18 WONDERFUL WORLD, INC., a                      TO ALL DEFENDANTS; POINTS
    California corporation; GOOGLE, INC., a       AND AUTHORITIES
 19 Delaware corporation, and DOES 1

 20 through10, inclusive,
                                                  Time: 10:00 a.m.
 21                     Defendants.               Date: July 1, 2013
 22                                               Place: Courtroom 1 – 2nd Floor

 23
      TO THE HONORABLE COURT, ALL PARTIES, AND THEIR RESPECTIVE
 24
      ATTORNEYS OF RECORD:
 25

 26
            PLEASE TAKE NOTICE that on July 1, 2013 in Courtroom 1 – 2nd Floor of
 27

                   PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                               Page i
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 2 of 23 Page ID #:687




  1   the Spring Street Courthouse, located at 312 N. Spring Street, Los Angeles, California
  2   90012, at 10:00 in the morning, Plaintiff, Jim Marshall Photography, LLC
  3   (“Marshall”) will move the court pursuant to Federal Rule of Civil Procedure 56 for
  4   summary adjudication that Defendants, and each of them, have engaged in acts of
  5   copyright infringement.
  6         The motion will be made on the grounds that Plaintiff is entitled to summary
  7   adjudication of liability for copyright infringement as a matter of law because, after
  8   considering all evidence in the light most favorable to Defendants, no reasonable fact-
  9   finder could deny that Plaintiff owns the copyrights in at issue in this case and that
 10   Defendants have engaged in unauthorized conduct that infringes Plaintiff’s exclusive
 11   rights under the Copyright Act.
 12         The motion will be based on the attached Memorandum of Points and
 13   Authorities, the Statement of Uncontroverted Facts, and the Declarations of Amelia
 14   Davis and Douglas Linde filed with this motion, the papers and evidence on file in
 15   this case, and such further evidence and argument as may be presented at the hearing.
 16         This motion is made following the conference of counsel pursuant to Local
 17   Rule 7-3, which took place on May 13, 2013.
 18

 19   Dated: May 29, 2013               LAW OFFICES OF LAWRENCE G. TOWNSEND
                                        THE LINDE LAW FIRM
 20

 21
                                        By: _/s/ Douglas A. Linde__________
 22                                     Lawrence G. Townsend
 23                                     Douglas A. Linde
                                        Erica L. Allen
 24                                     Attorneys for Plaintiff,
 25                                     JIM MARSHALL PHOTOGRAPHY LLC
 26

 27

                   PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                               Page ii
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 3 of 23 Page ID #:688




  1                                             TABLE OF CONTENTS
  2
      I.     INTRODUCTION .................................................................................................1
  3
      II.    STATEMENT OF FACTS ...................................................................................2
  4
             A.      PARTIES ..........................................................................................................2
  5
             B.      SUBJECT PHOTOGRAPHS .................................................................................2
  6          C.      DEFENDANTS’ ACCESS ...................................................................................4
  7          D.      INFRINGING ARTWORK ...................................................................................4
  8
      III.   LEGAL ANALYSIS ..............................................................................................6
  9
             A.      APPLICABLE LEGAL STANDARDS ...................................................................6
 10                  1.       Standards For Summary Judgment .....................................................6
 11                  2.       Standards For Copyright Infringement ...............................................7
 12          B.      PLAINTIFF OWNS A VALID COPYRIGHT IN THE SUBJECT PHOTOGRAPHS .....10
 13                  1.       Plaintiff is the Beneficial Owner of the Copyright Registrations
                              Which Should Be Given a Presumption of Validity ........................10
 14
                     2.       There Is Uncontroverted Evidence Of Ownership And Authorship 12
 15
             C.      DEFENDANTS HAVE ENGAGED IN COPYRIGHT INFRINGEMENT ....................13
 16
                     1.       Access and Legally Sufficient Similarity Show Unauthorized
 17                           Copying .............................................................................................13
 18                           a.        Defendants Had Access to The Subject Photographs ............13
 19                           b.        Defendants Copied The Subject Photographs ........................14
 20                                     i.    Defendants’ Works are Substantially Similar to the
                                              Subject Photograph ......................................................... 14
 21
                                        ii. Defendants Works Virtually Duplicate the Subject
 22                                         Photographs ..................................................................... 15
 23                  2.       Defendants Violated Plaintiff’s Exclusive Rights ............................16
 24                  3.       Plaintiff has not Authorized Defendants’ Conduct...........................17
 25   IV.    CONCLUSION ....................................................................................................18
 26

 27

                       PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                   Page iii
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 4 of 23 Page ID #:689




  1                                                 TABLE OF AUTHORITIES
  2

  3    CASES

  4
       Addisu v. Fred Meyer, Inc., 198 F. 3d 1130 (9th Cir. 2000) .............................................6
       American International Pictures, Inc. v. Foreman, 576 F.2d 661 (5th Cir. 1978) ........ 19
  5
       Anderson v. Liberty Lobby Inc., 477 U.S. 242, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986)
  6      ....................................................................................................................................... 5
  7    Baxter v. MCA, Inc., 812 F.2d 421 (9th Cir. 1987) .......................................................... 8
  8    Berkic v. Crichton, 761 F.2d 1289 (9th Cir. 1985) .................................................... 9, 15
  9    Celotex Corp. v. Catrett, 477 U.S. 317, 106 S. Ct. 2505, 91 L. Ed. 2d 265 (1986) ......... 6
 10    Entertainment Research Group, Inc. v. Genesis Creative Group, Inc., 122 F.3d 1211
         (9th Cir.1997) .............................................................................................................. 12
 11
       Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d 1068 (9th Cir. 2000) ........................................ 7
 12
    Feist Publications, Inc., v. Rural Telephone Service Company, Inc., 499 U.S. 340, 111
 13   S. Ct. 1282, 113 L. Ed. 2d 358 (1991) .......................................................................... 7
 14    Friedman v. Guetta, No. CV 10-00014, 2011 U.S. Dist. LEXIS 66532 (C.D. Cal. May
         27, 2011) ........................................................................................................ 1, 8, 10, 17
 15
       Idearc Media Corp. v. Northwest Directories, Inc., 623 F. Supp. 2d 1223 (D. Or. 2008)
 16
         ..................................................................................................................................... 10
 17    Jarvis v. K2 Inc., 486 F.3d 526 (9th Cir. 2007) .............................................................. 11
 18    Jules Jordan Video, Inc. v. 144942 Canada Inc., 617 F.3d 1146 (9th Cir. 2010) ........... 8
 19    Kamar International, Inc. v. Russ Berrie & Co., 657 F.2d 1059 (9th Cir. 1981) .......... 13
 20    Keenan v. Allan, 91 F.3d 1275 (9th Cir. 1996) ................................................................ 6
 21 L.A. Printex Industries, Inc. v. Aeropostale, Inc., 676 F.3d 841 (9th Cir. 2012), amended
      by L.A. Printex Industries. v. Aeropostale, Inc., 2012 U.S. App. LEXIS 12033 (9th
 22   Cir. Cal., June 13, 2012).............................................................................................. 14
 23    Litchfield v. Spielberg, 736 F.2d 1352 (9th Cir. 1984)............................................... 9, 15
 24 MAI Systems Corp. v. Peak Computer, Inc., 991 F.2d 511, 519 (9th Cir. 1993), cert.
 25  dismissed, 510 U.S. 1033, 114 S. Ct. 671, 126 L. Ed. 2d 640 (1994) ........................ 10
    Micro Star v. Formgen Inc., 154 F.3d 1107 (9th Cir. 1998) .......................................... 11
 26

 27

                            PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                        Page iv
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 5 of 23 Page ID #:690




  1   Microsoft Corp. v. Harmony Computers & Electronics, Inc., 846 F. Supp. 208
       (E.D.N.Y. 1994) .......................................................................................................... 19
  2
    Morris v. Guetta, No. CV 12-00684, 2013 U.S. Dist. LEXIS 15556 (C.D. Cal. February
  3  4, 2013) .......................................................................................................................... 1
  4   Narell v. Freeman, 872 F.2d 907, 910 (9th Cir. 1989)............................................. 16, 17
  5   Norse v. Henry Holt & Co., 991 F.2d 563 (9th Cir. 1993) ............................................. 10
  6   North Coast Industries v. Maxwell, 972 F.2d 1031 (9th Cir. 1992) ........................... 9, 15
  7   Richter v. Instar Enterprises International, Inc., 594 F. Supp. 2d 1000 (N.D. Ill. 2009)
        ..................................................................................................................................... 18
  8
      S.O.S., Inc. v. Payday, Inc., 886 F.2d 1081 (9th Cir. 1989) ....................................... 8, 17
  9
    Sheldon v. Metro-Goldwyn Pictures Corp., 81 F.2d 49 (2d Cir. 1936), cert. denied, 298
 10   U.S. 669, 56 S. Ct. 835, 80 L. Ed. 1392 (1936) .......................................................... 16
 11 Smith v. Jackson, 84 F.3d 1213 (9th Cir. 1996) ..................................................... 8, 9, 15

 12   Tarn v. County of Los Angeles, 123 F. 3d 1259 (9th Cir. 1997) ...................................... 6
      Three Boys Music Corp. v. Bolton, 212 F.3d 477 (9th Cir. 2000), cert. denied, 531 U.S.
 13
        1126, 121 S. Ct. 881, 148 L. Ed. 2d 790 (2001) ................................................. 7, 8, 13
 14

 15   STATUTES
 16   17 U.S.C. § 101 ................................................................................................................. 5
 17   17 U.S.C. § 102 ............................................................................................................. 4, 5
 18   17 U.S.C. § 106 ....................................................................................................... 5, 7, 12

 19
      RULES
 20
      Federal Rule of Civil Procedure 56 .............................................................................. 3, 4
 21

 22   TREATISES
 23   2 Howard B. Abrams, THE LAW OF COPYRIGHT § 14:10 (2011) ................................... 11
 24

 25

 26

 27

                           PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                       Page v
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 6 of 23 Page ID #:691




  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2
      I.    INTRODUCTION
  3
            This is a straightforward case of copyright infringement involving Defendants’
  4
      unauthorized creation, reproduction, display and sale of artwork using Plaintiff’s
  5
      copyrighted photographs.
  6
            Plaintiff, Jim Marshall Photography, LLC, is the current owner of the copyright
  7
      in the images captured by now deceased photographer Jim Marshall. Jim Marshall
  8
      was a world famous photographer noted for groundbreaking photographs of many of
  9
      the most famous jazz and rock and roll musicians of the twentieth century.
 10
      (http://en.wikipedia.org/wiki/Jim_Marshall_(photographer)).      Over his career Jim
 11
      Marshall took thousands of iconic photographs of musical artists.
 12
            Defendant, Thierry Guetta, (“Guetta”) is a self-proclaimed “appropriation
 13
      artist,” who works under the moniker “Mr. Brainwash.” Mr. Guetta’s “style” of
 14
      artwork often involves taking and using, without authorization, photographs authored
 15
      by others as the basis of his works, (http://en.wikipedia.org/wiki/Mr._Brainwash).
 16
      Notably, Defendant has already been found to be a copyright infringer by two other
 17
      Courts in this District. See Friedman v. Guetta, No. CV 10-00014, 2011 U.S. Dist.
 18
      LEXIS 66532 (C.D. Cal. May 27, 2011). Morris v. Guetta, No. CV 12-00684, 2013
 19
      U.S. Dist. LEXIS 15556 (C.D. Cal. February 4, 2013).
 20
            Defendant It’s a Wonderful World, Inc., is a corporation organized under the
 21
      laws of the State of California. Guetta is the president of It’s a Wonderful World, Inc.
 22
      It’s a Wonderful World, Inc. sells artwork created by Guetta on his behalf. Both
 23
      Defendants will be collectively referred to as “Guetta.”
 24
            Defendant Guetta created and sold a number of pieces of art admittedly
 25
      containing copies of Marshall’s copyrighted photographs without authorization.
 26
            There is no question that Guetta’s artwork contains unauthorized copies of
 27
      Plaintiff’s photograph.    Indeed, the evidence demonstrates that Guetta simply
                   PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                               Page 1
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 7 of 23 Page ID #:692




  1   reproduced Plaintiff’s images, added a simple background and sold the artwork.
  2   Moreover, it is undisputed that Guetta did not have Plaintiff’s permission to use his
  3   photographs in any of the Defendant’s works.
  4         As such, Plaintiff seeks summary adjudication of his copyright infringement
  5   claims against the Guetta Defendants, with the amount of damages for such
  6   infringement at issue for trial.
  7
      II.   STATEMENT OF FACTS
  8
            The following facts established in the pleadings and discovery show Plaintiff’s
  9
      copyright ownership and Defendants’ infringement.
 10
            A.     PARTIES
 11
            The parties are: Plaintiff Jim Marshall Photography LLC (“Marshall”), the
 12
      owner of the copyrights of photographer Jim Marshall; Defendants Thierry Guetta and
 13
      It’s a Wonderful World, Inc. (collectively “Guetta”)1. The Defendants are all engaged
 14
      in creating and/or selling artwork.
 15

 16         B.     SUBJECT PHOTOGRAPHS

 17         Marshall owns the copyright in the following photographs taken by Jim

 18   Marshall (the “Subject Photographs”):

 19   ///

 20   ///

 21   ///

 22

 23

 24

 25

 26
      1
 27    The parties have stipulated to the dismissal of Defendant Google Inc. See Docket No.
      43.
                    PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                Page 2
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 8 of 23 Page ID #:693




  1               John Coltrane:                            Sonny Rollins:

  2

  3

  4

  5

  6

  7

  8

  9         Monk, Gillespie & Wilson:                     Stanley Turrentine:
 10

 11

 12

 13

 14

 15

 16               Jimi Hendrix:                            Hendrix & Jones:
 17

 18

 19

 20

 21

 22
      Uncontroverted Facts No. 1-6. The Subject Photographs were registered with the
 23
      United States Copyright Office under registrations VA 1-365-079 and TX 6-031-402.
 24
      Uncontroverted Facts No. 7-10.
 25
      ///
 26
      ///
 27

                  PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                              Page 3
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 9 of 23 Page ID #:694




  1         C.     DEFENDANTS’ ACCESS
  2         Defendants admit in their Answer, and in discovery, that they had access to the
  3   Subject Photographs. See Exhibit 3, Defendants’ Answer to Second Amended
  4   Complaint, ¶19 (Docket No. 27), Exhibit 4, Defendant It’s A Wonderful Life, Inc.’s
  5   Response to Request for Admission 19-23, 25. Pursuant to FRCP 36, a “matter
  6   admitted under this rule is conclusively established.” Accordingly, it is conclusively
  7   established that Defendant had access to Plaintiff’s works, and no contrary evidence is
  8   permitted as to this point.
  9         Specifically, Defendant Thierry Guetta obtained a copy of the Subject
 10   Photographs from the internet. See Exhibit 5, Defendant It’s A Wonderful Life, Inc.’s
 11   Response to Interrogatories, Set One, No. 9.
 12
            D.     INFRINGING ARTWORK
 13
            Guetta reproduced the images contained in the Subject Photographs in works
 14
      which he displayed and marketed as his own. Uncontroverted Facts No. 14-19. These
 15
      works are itemized as follows:
 16

 17               Guetta’s Coltrane:                           Guetta’s Rollins:
 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

                    PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                Page 4
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 10 of 23 Page ID #:695




  1         Guetta’s Monk & Gillespie:                        Guetta’s Turrentine:

  2

  3

  4

  5

  6

  7
            Guetta’s Hendrix& Coltrane:                    Guetta’s Hendrix & Jones:
  8

  9

 10

 11

 12

 13

 14
            It is undisputed that Defendants created these works using Plaintiff’s images.
 15
      See Declaration of Thierry Guetta, ¶¶2-8 [Docket No. 63-3].
 16
            Guetta admits that he liked the Subject Photographs, and used them to create his
 17
      works. Linde Decl. Exhibit 7 (Guetta Deposition) at 28:2-5; 30:22-23; 46:25-47:3;
 18
      54:12-18; 55:6-10; 62:24-63:2; 74:11-14.
 19
            At all times Defendant Guetta knew that he did not take or own the Subject
 20
      Photographs that he used to make his derivative works. See id. at 66:25-67:7; 79:12-
 21
      15; Exhibit 4, Responses to Requests for Admission, Set One, Requests 26-31.
 22
            Nevertheless, Guetta admits he did not do anything to find the owner of the
 23
      photographs, to see if they were copyright protected, or to get permission for their use.
 24
      See id. at 67:17-69:2; 79:12-23; 81:3-7.
 25
            Indeed, Defendant admits that he should have obtained a license to use these
 26
      photographs, but did not do so. See id. at 77:15-24; 71:18-22; 65:24-66:9.
 27
            Moreover, Defendant repeatedly testified that there was nothing that
                    PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                Page 5
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 11 of 23 Page ID #:696




  1   distinguished Plaintiff’s photographs from any other photograph of someone playing a
  2   musical instrument, and that and he could have chosen any photograph featuring
  3   someone playing music. See Linde Decl. Exhibit 7 (Guetta Deposition) 36:8-15;
  4   46:1-5; 53:15-21; 65:18-20.
  5          In fact, Defendant claims it was not even important to him to feature the
  6   specific musicians depicted in his works. Except for Jimi Hendrix, Defendant claims
  7   he didn’t know who the musicians were, or that they were famous. See id. at 23:15,
  8   32:23-34:7.
  9          Finally, Defendant clearly admits that in making his works, he was not trying to
 10   express an opinion. See id. at 75:13-77:1. Notably, Defendant could not identify one
 11   non-profit educational purpose to which the proceeds of his work were donated. See
 12   id. at 71: 23-73:13.
 13

 14
      III.   LEGAL ANALYSIS
 15
             This motion seeks summary adjudication that Plaintiff’s Subject Photographs
 16
      are original, and duly registered works of authorship owned by Plaintiff; and that
 17
      Defendants infringed Plaintiff’s copyright by reproducing, selling and publicly
 18
      distributing artwork containing copies of the Subject Photographs without
 19
      authorization.
 20

 21
             A.     APPLICABLE LEGAL STANDARDS
 22

 23                 1.       Standards For Summary Judgment

 24          Federal Rule of Civil Procedure 56(a) says “[a] party claiming relief may move,

 25   with or without supporting affidavits, for summary judgment on all or part of the

 26   claim.” In that case, “[t]he judgment sought should be rendered if the pleadings, the

 27   discovery and disclosure materials on file, and any affidavits show that there is no

                    PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                Page 6
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 12 of 23 Page ID #:697




  1   genuine issue as to any material fact and that the movant is entitled to judgment as a
  2   matter of law.” Fed. R. Civ. P. 56(c).
  3         A material fact is one that may affect the outcome of the case. Anderson v.
  4   Liberty Lobby Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). The
  5   movant bears the initial burden of presenting evidence that demonstrates the absence
  6   of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 106 S. Ct.
  7   2505, 91 L. Ed. 2d 265 (1986). Once that occurs, the burden shifts to the opposing
  8   party to demonstrate a genuine issue of material fact for trial. “An opposing party may
  9   not rely merely on allegations or denials in its own pleading; rather, its response must
 10   — by affidavits or as otherwise provided in this rule — set out specific facts showing
 11   a genuine issue for trial.    If the opposing party does not so respond, summary
 12   judgment should, if appropriate, be entered against that party.” Fed. R. Civ. P. 56(e).
 13   The opposing party must identify with reasonable particularity the evidence that
 14   precludes summary judgment. Keenan v. Allan, 91 F.3d 1275, 1279 (9th Cir. 1996).
 15   A “scintilla of evidence or evidence that is merely colorable or not significantly
 16   probative does not present a genuine issue of, material fact.” Addisu v. Fred Meyer,
 17   Inc., 198 F.3d 1130, 1134 (9th Cir. 2000). Summary judgment must be granted if the
 18   evidence, when viewed in the light most favorable to the non-moving party, shows
 19   that there is no genuine issue as to any material fact. Fed. R. Civ. P. 56(c); Tarn v.
 20   County of Los Angeles, 123 F.3d 1259, 1263 (9th Cir. 1997).
 21
                   2.    Standards For Copyright Infringement
 22
            To succeed on a claim for copyright infringement claim, a plaintiff must show
 23
      “(1) ownership of a valid copyright, and (2) copying of constituent elements of the
 24
      work that are original.”     Feist Publications, Inc., v. Rural Telephone Service
 25
      Company, Inc., 499 U.S. 340, 361, 111 S. Ct. 1282, 113 L. Ed. 2d 358 (1991); Three
 26
      Boys Music Corp. v. Bolton, 212 F.3d 477, 481 (9th Cir. 2000), cert. denied, 531 U.S.
 27
      1126, 121 S. Ct. 881, 148 L. Ed. 2d 790 (2001).
                   PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                               Page 7
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 13 of 23 Page ID #:698




  1         Valid Copyright: “Copyright protection subsists … in original works of
  2   authorship fixed in a tangible medium of expression.” 17 U.S.C. § 102(a). “Works of
  3   authorship” include “pictorial, graphical and sculptural works,” 17 U.S.C. § 102(a)(5),
  4   which cover “photographs.” 17 U.S.C. § 101. As Ets-Hokin v. Skyy Spirits, Inc. held
  5   in upholding the copyright in a photograph of a bottle of vodka: “‘[A]lmost any
  6   photograph may claim the necessary originality to support a copyright merely by
  7   virtue of the photographer’s personal choice of subject matter, angle of photograph,
  8   lighting, and determination of the precise time when the photograph is to be taken.’ …
  9   This circuit is among the majority of courts to have adopted this view, [that] creative
 10   decisions involved in producing a photograph may render it sufficiently original to be
 11   copyrightable, [including] selection of subject, posture, background, lighting, and
 12   perhaps even perspective alone.” Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d 1068,
 13   1076-1077 (9th Cir. 2000).
 14         Copying: The owner of a copyright in a photograph has the exclusive right to
 15   do and authorize its: (i) reproduction; (ii) adaptation; (iii) public distribution; and (iv)
 16   public display and to prepare derivative works. 17 U.S.C. § 106; Jules Jordan Video,
 17   Inc. v. 144942 Canada Inc., 617 F.3d 1146, 1152 (9th Cir. 2010). “Copying” is
 18   shorthand for infringing any of these rights. S.O.S., Inc. v. Payday, Inc., 886 F.2d
 19   1081, 1085, fn. 3 (9th Cir. 1989).
 20         A plaintiff may show copying by “indirect” or “direct” means. The “indirect”
 21   approach is the usual one. “Because direct evidence of copying is not available in
 22   most cases, plaintiff may establish copying by showing that defendant had access to
 23   plaintiff’s work and that the two works are substantially similar in idea and in
 24   expression of the idea.” Smith v. Jackson, 84 F.3d 1213, 1218 (9th Cir. 1996); see
 25   also Friedman v. Guetta, supra, 2011 U.S. Dist. LEXIS 66532 at * 11-12; Morris v.
 26   Guetta, supra, 2013 U.S. Dist. LEXIS 15556 at * 15, fn. 6. To establish access, the
 27   Ninth Circuit uses an “inverse ratio rule” which requires “a lower standard of proof of
                    PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                Page 8
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 14 of 23 Page ID #:699




  1   substantial similarity when a high degree of access is shown” and, conversely, “in the
  2   absence of any proof of access, a copyright plaintiff can still make out a case of
  3   infringement by showing that the [works] are ‘strikingly similar.’”          Three Boys
  4   Music, supra, 212 F.3d 481; Baxter v. MCA, Inc., 812 F.2d 421, 423 (9th Cir. 1987).
  5   For substantially similarity the Ninth Circuit uses an extrinsic/intrinsic test. “The
  6   ‘extrinsic’ test considers whether two works share a similarity of ideas and expression
  7   based on external, objective criteria [Citations] … [and] the subjective ‘intrinsic test’
  8   asks whether an ‘ordinary, reasonable observer’ would find a substantial similarity of
  9   expression of the shared idea.” Smith, supra, 84 F.3d at 1218. “The extrinsic test is
 10   generally a question of law because it turns not on the responses of the trier of fact but
 11   on specific criteria which can be listed and analyzed.” North Coast Industries v.
 12   Maxwell, 972 F.2d 1031, 1034 (9th Cir. 1992). Although the intrinsic test evaluates
 13   total “look and feel,” courts grant summary judgment where no reasonable jury could
 14   decide otherwise under the intrinsic test. Berkic v. Crichton, 761 F.2d 1289 (9th Cir.
 15   1985); Litchfield v. Spielberg, 736 F.2d 1352 (9th Cir. 1984).
 16         Alternatively, a plaintiff may also show direct copying rather than access and
 17   substantial similarity.   As Range Road Music, Inc. v. East Coast Foods, Inc.,
 18   explained:
 19
            ‘Substantial similarity’ is not an element of a claim of copyright
 20         infringement. Rather, it is a doctrine that helps courts adjudicate whether
 21         copying of the ‘constituent elements of the work that are original’ actually
            occurred when an allegedly infringing work appropriates elements of an
 22         original without reproducing it in toto. A showing of ‘substantial
 23         similarity’ is irrelevant in a case like this one [which] entailed direct
            copying of copyrighted works.
 24

 25   Range Road Music, Inc. v. East Coast Foods, Inc., 668 F.3d 1148, 1154 (9th Cir.
 26   2012); accord Norse v. Henry Holt & Co., 991 F.2d 563, 566 (9th Cir. 1993)
 27   (citations omitted) (“But here the substantial similarity analysis is inapposite to the
                    PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                Page 9
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 15 of 23 Page ID #:700




  1   copying issue because appellees admit that they in fact copied phrases from Norse’s
  2   letters.”); Friedman v. Guetta, supra, 2011 U.S. Dist. LEXIS 66532 at * 11-12;
  3   Morris v. Guetta, supra, 2013 U.S. Dist. LEXIS 15556 at * 13. In cases of direct
  4   copying, the fact that the final result of defendant’s work differs from plaintiff’s work
  5   is not exonerating. To the contrary, it can show infringement of multiple exclusive
  6   rights.        Making a direct copy such as by downloading a protected work into a
  7   computer program infringes the exclusive reproduction right. 17 U.S.C. § 106(1);
  8   MAI Systems Corp. v. Peak Computer, Inc., 991 F.2d 511, 519 (9th Cir. 1993), cert.
  9   dismissed, 510 U.S. 1033, 114 S. Ct. 671, 126 L. Ed. 2d 640 (1994); Idearc Media
 10   Corp. v. Northwest Directories, Inc., 623 F. Supp. 2d 1223, 1233 (D. Or. 2008)
 11   (unauthorized scanning of ads into program an infringement); Friedman v. Guetta,
 12   supra, 2011 U.S. Dist. LEXIS 66532 at * 11-12; Morris v. Guetta, supra, 2013 U.S.
 13   Dist. LEXIS 15556 at * 13, * 14, fn. 5.
 14             Altering the unauthorized copy would then infringe the exclusive right to create
 15   derivative works. 17 U.S.C. § 106(2); Jarvis v. K2 Inc., 486 F.3d 526, 532 (9th Cir.
 16   2007) (scanning and altering photos); Micro Star v. Formgen Inc., 154 F.3d 1107 (9th
 17   Cir. 1998) (computer game); Morris v. Guetta, supra, 2013 U.S. Dist. LEXIS 15556
 18   at * 13.
 19             As will be seen, the evidence is undisputed on all of the factors necessary to
 20   show copyright infringement in this case.
 21
                B.      PLAINTIFF OWNS A VALID COPYRIGHT IN THE SUBJECT
 22
                        PHOTOGRAPHS
 23
                        1.    Plaintiff is the Beneficial Owner of the Copyright Registrations
 24
                              Which Should Be Given a Presumption of Validity
 25
                Section 410(c) of the Copyright Act provides: “In any judicial proceeding a
 26
      certificate of copyright registration made before or within five years after first
 27

                         PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                     Page 10
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 16 of 23 Page ID #:701




  1   publication of the work constitutes prima facie evidence of the validity of the copyright
  2   and the facts stated in the certificate. The evidentiary weight accorded a certificate of
  3   registration made thereafter shall be within the discretion of the court.” 17 U.S.C. §
  4   410(c).
  5         A copyright registration is “prima facie evidence of the validity of the copyright
  6   and the facts stated in the certificate.” 17 U.S.C. § 401(c). In particular, it is prima
  7   facie evidence of originality, North Coast Industries v. Jason Maxwell, Inc., 972 F.2d
  8   1031, 1033 (9th Cir 1992), and ownership, United Fabrics Intern., Inc. v. C&J Wear,
  9   Inc., 630 F.3d 1255, 1258 (9th Cir. 2011).
 10         Presentation of a valid registration certificate then shifts the burden to
 11   Defendants to prove invalidity of Plaintiff’s copyrights.     Entertainment Research

 12   Group, Inc. v. Genesis Creative Group, Inc., 122 F.3d 1211, 1217 (9th Cir.1997).

 13
            In this regard, the presumption of validity afforded by the copyright registration
      is only overcome by proof of deliberate misrepresentation.        Whimsicality, Inc. v.
 14
      Rubie’s Costume Co., Inc., 891 F.2d 452, 455 (2nd Cir. 1989); Eckes v. Card Prices
 15
      Update, 736 F.2d 859, 861-862 (2d Cir.1984). Moreover, this proof of deliberate
 16
      misrepresentation does not apply to just any statement on the registration, such as
 17
      typos or innocently inaccurate dates, but rather the deliberate misrepresentation must
 18
      bear upon “the plaintiff's prima facie case of infringement.” North Coast Industries,
 19
      972 F.2d at 1033 (9th Cir 1992).             In other words, the proof of deliberate
 20
      misrepresentation must go to plaintiff’s prima facie case of originality or ownership.
 21
      North Coast Industries, 972 F.2d 1033; United Fabrics, supra, 630 F.3d 1258; Andrien
 22
      v. Southern Ocean County Chamber of Commerce, 927 F.2d 132, 134 (3rd Cir. 1991).
 23
      Moreover, in order to rebut the presumption of validity, the Defendant must offer some
 24   actual evidence in support of its position; allegations of deliberate misrepresentation
 25   “in the air” unsupported by specific evidence is not enough. United Fabrics, 630 F.3d
 26   at 1258 (9th Cir. 2011).
 27

                   PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                               Page 11
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 17 of 23 Page ID #:702




  1         In this case, the Subject Photographs of John Coltrane, Sonny Rollins,
  2   Thelonious Monk, Dizzy Gillespie and Gerald Wilson, and Stanley Turrentine were
  3   among the photographs registered in Copyright Registration VA 1-365-079.         This
  4   registration was made within five (5) years of first publication.     Therefore, this
  5   Certificate of Registration should be held to constitute prima facie evidence of both
  6   authorship and ownership as to these photos.
  7         The Subject Photographs of Jimi Hendrix and Brian Jones were among the
  8   photographs registered in Copyright Registration TX 6-031-402.
  9
                  2.    There Is Uncontroverted Evidence Of Ownership And
 10
                        Authorship
 11
            There is uncontroverted evidence of Plaintiff’s ownership of valid and
 12
      subsisting copyrights in the Subject Photographs of Jimi Hendrix and Brian Jones.
 13
      Jim Marshall Photography, LLC was created and is owned by Amelia Davis, who was
 14
      Jim Marshall’s assistant for 13 years.    In her Declaration, Ms. Davis states the
 15
      following uncontroverted facts:
 16
            Authorship: Jim Marshall is the person who took the Subject Photographs of
 17
      Jimi Hendrix and Brian Jones and is the sole and original author of each one.
 18
      Uncontroverted Facts No. 11. Davis Decl. ¶ 3-4.
 19
            Originality: The Subject Photographs of Jimi Hendrix and Brain Jones are
 20
      original with Jim Marshall. He is the person responsible for selection of subject,
 21
      posture, background, lighting in each the photograph. Uncontroverted Facts No. 11.
 22
            Publication: The Subject Photographs of Jimi Hendrix and Brian Jones were
 23
      included as photographs published in Monterey Pop, Chronicle Books, 1992.
 24
      Uncontroverted Facts No. 20, Decl. Davis ¶ 9. The Subject Photograph of Jimi
 25
      Hendrix was included in the book Not Fade Away: The Rock & Roll Photography of
 26
      Jim Marshall, authored by Jim Marshall. Uncontroverted Facts No. 9. Decl. Davis ¶ 8
 27
            Ownership: Ownership of the Subject Photographs has been assigned to
                   PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                               Page 12
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 18 of 23 Page ID #:703




  1   Plaintiff Jim Marshall Photography LLC.         Uncontroverted Facts. No. 1-6; Davis
  2   Decl. ¶ 5.
  3         As such, there uncontroverted evidence of Plaintiff’s ownership of a valid and
  4   subsisting copyrights in the Subject Photographs. Morris v. Guetta, supra, 2013 U.S.
  5   Dist. LEXIS 15556 at * 10-11.
  6

  7
            C.     DEFENDANTS HAVE ENGAGED IN COPYRIGHT INFRINGEMENT
  8
            The claim of copyright infringement against Defendants involves unauthorized
  9
      reproduction, display and distribution of copies of the Subject Photographs in the
 10
      works described above. The first step is to show they contain unauthorized copies of
 11
      the Subject Photographs. This is done both by indirect and direct evidence.
 12
                   1.     Access and Legally Sufficient Similarity Show Unauthorized
 13
                          Copying
 14
            To show unauthorized copying by indirect evidence, a plaintiff must show both
 15
      access and substantial similarity. Undisputed evidence establishes both requirements.
 16

 17                       a.        Defendants Had Access to The Subject Photographs

 18         Defendants admit, pursuant to Requests for Admissions, that they had access to

 19   Plaintiff’s images on the internet, prior to creating the infringing works.

 20   Uncontroverted Facts No. 13.          See Exhibit 3, Defendants’ Answer to Second

 21   Amended Complaint, ¶19 (Docket No. 27), Exhibit 4, Defendant It’s A Wonderful

 22   Life, Inc.’s Response to Request for Admission 19-23, 25.

 23         Pursuant to FRCP 36, which governs Requests For Admissions, a “matter

 24   admitted under this rule is conclusively established.” Accordingly, it is conclusively

 25   established that Defendant had access to Plaintiff’s works, and no contrary evidence is

 26   permitted as to this point.

 27

                    PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                Page 13
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 19 of 23 Page ID #:704




  1                        b.    Defendants Copied The Subject Photographs
  2           Plaintiff can show copying in two ways: 1) by showing that the Defendants’ work
  3   is substantially similar to Plaintiff’s Subject Photographs, and 2) by demonstrating that
  4   Defendants directly copied Plaintiff’s photograph. Each is addressed in turn.
  5
                                 i.     Defendants’ Works are Substantially Similar to the
  6
                                        Subject Photograph
  7
              To address “substantially similarity” the Ninth Circuit uses an extrinsic/intrinsic
  8
      test.
  9
              “The ‘extrinsic’ test considers whether two works share a similarity of ideas and
 10
      expression based on external, objective criteria. [Citations]… If plaintiff satisfies the
 11
      extrinsic test, then the subjective ‘intrinsic test’ asks whether an ‘ordinary, reasonable
 12
      observer’ would find a substantial similarity of expression of the shared idea.” Smith,
 13
      supra, 84 F.3d at 1218. “The extrinsic test is generally a question of law because it
 14
      turns not on the responses of the trier of fact but on specific criteria which can be listed
 15
      and analyzed.” North Coast Industries, supra, 972 F.2d at 1034.
 16
              Although the intrinsic test relies on evaluating the total “look and feel,” courts
 17
      can grant summary judgment where no reasonable jury could decide otherwise under
 18
      the intrinsic test. Berkic, supra, 761 F.2d 1289; Litchfield, supra, 736 F.2d 1352
 19
              Given the Defendants’ level of exact copying, the extrinsic and intrinsic tests are
 20
      easily satisfied. See discussion in Morris v. Guetta, supra, 2013 U.S. Dist. LEXIS
 21
      15556 at * 15, fn. 6.
 22
              With respect to the “extrinsic” test, certainly, the Subject Photographs and the
 23
      copies on Defendants works share “objective” similarity of ideas and expression as they
 24
      are virtually identical. A simple side by side comparison of Plaintiff’s photograph and
 25
      Defendants’ work demonstrates this.
 26
              The “‘intrinsic test’ asks whether an ‘ordinary, reasonable observer’ would find a
 27
      substantial similarity of expression of the shared idea.” Smith, supra, 84 F.3d at 1218.
                     PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                 Page 14
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 20 of 23 Page ID #:705




  1   Again, given that the works are virtually identical, no reasonable observer deny that the
  2   works are substantially similar.
  3         It is anticipated that Defendants will point to the fact that they made additions to
  4   Plaintiff’s work, such as splashing paint on it, or writing in the background, and
  5   therefore the works are “different.” However, it is well settled that any comparison of
  6   areas where the works might differ is irrelevant, since “no plagiarist can excuse the
  7   wrong by showing how much of his work he did not pirate.” Sheldon v. Metro-
  8   Goldwyn Pictures Corp., 81 F.2d 49, 56 (2d Cir. 1936), cert. denied, 298 U.S. 669, 56
  9   S. Ct. 835, 80 L. Ed. 1392 (1936). Rather, under Copyright law, the analysis must
 10   focus upon the similarities and the copying of protected elements. Insofar as the
 11   majority of Defendants’ work is comprised of Plaintiff’s photograph, there can be no
 12   question that Plaintiff’s and Defendants’ works are substantially similar.
 13
                                ii.      Defendants Works Virtually Duplicate the Subject
 14
                                         Photographs
 15
            Moreover, because this is a case of admitted direct copying, the Court can grant
 16
      Summary Judgment even without conducting the substantial similarity analysis.
 17
      Specifically, a finding that a defendant copied a plaintiff’s work, without application of
 18
      a substantial similarity analysis, can be made where the defendant has engaged in direct
 19
      copying of a plaintiff’s entire work. Range Road Music, supra, 668 F.3d at 1154; Narell
 20
      v. Freeman, 872 F.2d 907, 910 (9th Cir. 1989). Specifically, the Ninth Circuit held in
 21
      Range Road Music:
 22

 23
            A showing of “substantial similarity” is irrelevant in a case like this one, in
            which the Music Companies produced evidence that the public
 24         performances entailed direct copying of copyrighted works.
 25
            Range Road Music, supra, 668 F.3d at 1154. (noting that a demonstration of
 26
      substantial similarity is only necessary to prove infringement “[a]bsent evidence of
 27

                   PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                               Page 15
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 21 of 23 Page ID #:706




  1   direct copying”); see also Narell v. Freeman, supra, 872 F.2d at 910 (noting that “[a]
  2   finding that a defendant copied a plaintiff’s work, without application of a substantial
  3   similarity analysis” will be made “when the defendant has engaged in virtual
  4   duplication of a plaintiff’s entire work”); 2 Howard B. Abrams, THE LAW OF
  5   COPYRIGHT § 14:10 (2011) (“Direct proof [of copying] can consist of . . . testimony of
  6   direct observation of the infringing act . . . .”).
  7          As shown above, the copies on Guetta’s artwork demonstrate direct copying of
  8   the Subject Photograph, and Defendants have admitted to copying the images from the
  9   internet. As such, summary judgment can be granted based on evidence of direct
 10   copying. Friedman v. Guetta, supra, 2011 U.S. Dist. LEXIS 66532; Morris v. Guetta,
 11   supra, 2013 U.S. Dist. LEXIS 15556 at * 13-17.
 12
                    2.     Defendants Violated Plaintiff’s Exclusive Rights
 13
             The owner of a copyright in a photograph has the exclusive right to authorize its:
 14
      (i) reproduction; (ii) adaptation (i.e., create derivative works); (iii) public distribution;
 15
      and (iv) public display. 17 U.S.C. § 106. “Copying” is shorthand for infringing any of
 16
      these rights. S.O.S. Inc., supra, 886 F.2d at 1085, fn. 3. Here, Defendants violated
 17
      Plaintiff’s exclusive rights by, without authorization, reproducing, adapting, publicly
 18
      distributing and publicly displaying works bearing copies of Plaintiff’s Subject
 19
      Photographs, including as follows:
 20
             Guetta’s Coltrane:       Defendants’ creation of this work violated Plaintiff’s
 21
      reproduction and adaptation rights. Moreover, this work was displayed by the Guetta
 22
      defendants. Uncontroverted Facts No. 14. This violated Plaintiff’s right of public
 23
      display.
 24
             Guetta’s Rollins:       Defendants’ creation of this work violated Plaintiff’s
 25
      reproduction and adaptation rights. Moreover, this work was displayed for sale and
 26
      sold by the Guetta Defendants. Uncontroverted Facts No. 15. This violated Plaintiff’s
 27
      public display and distribution right.
                     PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                 Page 16
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 22 of 23 Page ID #:707




  1         Guetta’s Monk & Gillespie:           Defendants’ creation of this work violated
  2   Plaintiff’s reproduction and adaptation rights. Moreover, this work was displayed for
  3   sale and sold by the Guetta Defendants. Uncontroverted Facts No. 16. This violated
  4   Plaintiff’s public display and distribution right.
  5         Guetta’s Turrentine:      Defendants’ creation of this work violated Plaintiff’s
  6   reproduction and adaptation rights. Moreover, this work was displayed by the Guetta
  7   defendants. Uncontroverted Facts No. 17. This violated Plaintiff’s right of public
  8   display.
  9         Guetta’s Hendrix & Coltrane:          Defendants’ creation of this work violated
 10   Plaintiff’s reproduction and adaptation rights. Moreover, this work was displayed by
 11   the Guetta defendants. Uncontroverted Facts No. 18. This violated Plaintiff’s right of
 12   public display.
 13         Guetta’s Hendrix & Jones: Defendants’ creation of this work violated Plaintiff’s
 14   reproduction and adaptation rights. Moreover, this work was displayed for sale and
 15   sold by the Guetta Defendants. Uncontroverted Facts No. 19. This violated Plaintiff’s
 16   public display and distribution right.
 17         Each of these uses is an infringing use.
 18
                   3.     Plaintiff has not Authorized Defendants’ Conduct
 19
            Direct copyright infringement is a strict liability tort. Lack of knowledge does
 20
      not limit liability but only effects the calculation of damages. Richter v. Instar
 21
      Enterprises International, Inc., 594 F. Supp. 2d 1000, 1011 (N.D. Ill. 2009).
 22
      “[B]ecause copyright law favors the rights of the copyright holder, the person claiming
 23
      authority to copy or vend generally must show that his authority to do so flows from the
 24
      copyright holder.” American International Pictures, Inc. v. Foreman, 576 F.2d 661, 664
 25
      (5th Cir. 1978). To survive a motion for summary judgment, a defendant has “the
 26
      burden of tracing the chain of title to show that [its] authority … flows from the
 27
      copyright holder.” Microsoft Corp. v. Harmony Computers & Electronics, Inc., 846 F.
                    PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                                Page 17
Case 2:12-cv-03423-SJO-VBK Document 65 Filed 05/29/13 Page 23 of 23 Page ID #:708




  1   Supp. 208, 212 (E.D.N.Y. 1994). Clearly, Defendants cannot meet this burden because
  2   they have admitted they have no such authority. In this case, Plaintiff did not authorize
  3   Defendants to utilize his Subject Photographs. Undisputed Facts No. 12, Davis Decl. ¶
  4   10-11.
  5
      IV.   CONCLUSION
  6
            There is no reasonable dispute about the foregoing material facts. As such,
  7
      Plaintiff respectfully requests summary adjudication as to these issues of copyright
  8
      infringement against the Guetta Defendants.
  9

 10   Dated: May 29, 2013             LAW OFFICES OF LAWRENCE G. TOWNSEND
 11
                                      THE LINDE LAW FIRM

 12                                   By: _/s/ Douglas A. Linde_______________
 13
                                            Lawrence G. Townsend
                                            Douglas A. Linde
 14                                         Erica A. Gonzales
 15                                         Attorneys for Plaintiff,
                                            JIM MARSHALL PHOTOGRAPHY LLC
 16

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                   PLAINTIFF’S POINTS AND AUTHORITIES FOR SUMMARY ADJUDICATION
                                               Page 18
